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                          IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

  UNITED STATES OF AMERICA                             §
                                                       §
                                                       § CASE NUMBER 6:21-CR-00007-JDK
  v.                                                   §
                                                       §
                                                       §
  FRED WILLIAMS, IV (5)                                §


                 ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S
                      REPORT AND FINDING DEFENDANT GUILTY

              The Court referred this matter to the Honorable John D. Love, United States

       Magistrate Judge, for administration of a guilty plea under Federal Rule of Criminal

       Procedure 11. The Magistrate Judge conducted a hearing in the form and manner prescribed

       by Rule 11 and issued Findings of Fact and Recommendation on Guilty Plea. The Magistrate

       Judge recommended that the Court accept Defendant’s guilty plea and adjudge Defendant

       guilty on Count Four of the Superseding Indictment.

              The parties have not objected to the Magistrate Judge’s findings.

              The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty Plea

       of the United States Magistrate Judge. The Court also accepts Defendant’s plea but defers

       acceptance of the plea agreement until after review of the presentence report.

              In accordance with Defendant’s guilty plea, the Court finds Defendant Fred Williams,

       IV (5) GUILTY of Count Four of the Superseding Indictment, charging a violation of Title

       21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2 - Possession with Intent to Distribute and Distribution

       of Methamphetamine and Heroin, and Aiding and Abetting.
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           So ORDERED and SIGNED this 2nd   day of December, 2021.



                                            ___________________________________
                                            JEREMY D. KERNODLE
                                            UNITED STATES DISTRICT JUDGE
